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           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SIXTH CIRCUIT


JOHN KOE, a pseudonym,                            )
                                                  )
      Plaintiff-Appellant,                        )
                                                  )
v.                                                )      No. 22-3952
                                                  )
UNIVERSITY HOSPITALS HEALTH                       )
SYSTEM INC., et al.,                              )
                                                  )
      Defendants-Appellees.                       )


APPELLANT’S MOTION TO EXTEND TIME TO FILE REPLY BRIEF


      Pursuant to Federal Rule of Appellate Procedure 27 and Sixth

Circuit Rule 26, Plaintiff-Appellant John Koe (“Koe”) respectfully

requests a 15-day extension of time, to and including December 26,

2023, for the time for filing his reply brief

       This case involves a challenge to the district court’s (1)

 improvident grant of an ex parte injunctive order restricting Koe’s

 exercise of rights protected by the First Amendment of the

 Constitution; and (2) to erroneously dismiss Koe’s civil rights

 complaint via a “drive-by jurisdictional” ruling. The district court

 refused to dissolve the injunctive order and refused to exercise its

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subject-matter jurisdiction to hear Koe’s federal civil rights action.

Koe’s appeal followed.

 1.        Appellant filed his opening brief on October 17, 2023.

 2.        Appellees filed a response brief consisting of 32 pages on

      November 15, 2023. Appellees raise, for the first time, a novel

      “jurisdictional” argument rooted in the esoteric judicially

      constructed doctrine known as Garmon preemption. See San Diego

      Building Trades Council, Millmen's Union, Local 2020 v. Garmon,

      359 U.S. 236, 79 S.Ct. 773, 3 L.Ed.2d 775 (1959).

 3.        Despite specialization in labor law and regular practice in

      this Circuit, counsel for Appellees avoid any mention of the

      independent federal remedy exception to this doctrine and related

      Sixth Circuit authority. See e.g. Pulte Homes, Inc. v. Laborers'

      Intern. Union, 648 F.3d 295, 300 (6th Cir. 2011) (explaining “the

      independent-federal-remedy exception” to the general doctrine

      and citing Trollinger v. Tyson Foods, Inc., 370 F.3d 602 (6th Cir.

      2004) as an illustrative case).

 4.        Similarly, Appellees do not address the statutory provisions

      pertaining to Title VII that suggest its enforcement scheme and



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         remedies are independent of the jurisdiction of the National Labor

         Relations Board. See 42 U.S.C. §§ 2000e-5, 2000e-4, §2000e-6,

         2000e-8; Cf. 29 U.S.C. § 153. See also 42 U.S.C. § 1981a.

    5.           Appellees' belated identification of this “jurisdictional”

         challenge for the first time in the response brief creates an

         impediment to an amicus brief by a subject-matter expert such as

         General Counsel of the National Labor Relations Board. See

         F.R.A.P. 29(a)(6).

    6.           Koe’s reply brief is currently due on December 11, 2023.1

    7.           Koe now respectfully requests a 14-day extension of time, to

         and including December 26, 2023, in which to file his reply brief.

         There is good cause for the requested extension as it is necessary

         in light of other deadlines and additional constraints on Koe.

    8.           Koe is self-represented, has no education or experience in the

         law, and limited, irregular access to legal reference materials at

         best.

    9.           Koe has had and continues to have obligations including

         deadlines in the following concurrent and ongoing administrative


1Pursuant to the August 14, 2023 briefing letter and calculated as the first
week day after (November 15, 2023 + 24-days)

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      proceedings including an ongoing hearing before the U.S. EEOC

      under 29 C.F.R. § 1614, charges before the National Labor

      Relations Board, and a charge pending before the U.S. EEOC.

   10.         The requested extension is not sought for delay. Rather, it

      will ensure that the Court receives a more full and helpful reply

      briefing.

   11.         This is Koe' s first request for an extension of time for filing

      his reply brief.

                                 CONCLUSION

      For the foregoing reasons, John Koe respectfully requests a 15-day

extension, until and including December 26, 2023, in which to file his

reply brief.


Dated: December 8, 2023
                                                     Respectfully submitted,


                                                     John Koe
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                                                     Plaintiff-Appellant, prose



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                   CERTIFICATE OF COMPLIANCE

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Dated: December 8, 2023

                                                        John Koe




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                      CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of December, 2023, I

electronically filed the foregoing document with the Clerk of the United

States Court of Appeals for the Sixth Circuit via the electronic mail box

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                                                         John Koe




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